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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                 NORTHERN DIVISION

BNSF RAILWAY COMPANY,                                 )
                                                      )
         Petitioner,                                  )
                                                      )
         v.                                           )      CASE NO. 2:22-CV-00068
                                                      )
PAULINE MAGIN, et al.                                 )
                                                      )
         Defendants.                                  )

                  PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

         Plaintiff BNSF Railway Company (“BNSF”) pursuant to Federal Rule of Civil Procedure

65, seeks a preliminary injunction preventing Defendants from pursuing their claims in state court

in contravention of a valid and enforceable Arbitration Agreement between the parties and in

violation of the Federal Arbitration Act, 9 U.S.C. §§ 1-16 (“FAA”). BNSF incorporates its

Memorandum in Support of this Motion as if fully set forth here.

         Defendants have asserted claims arising out of an incident that occurred on June 27, 2022,

while several Defendants were all traveling as passengers on Amtrak Train 4, also known as the

Southwest Chief. Train 4 was traveling from Los Angeles to Chicago when a dump truck operated

by an employee of MS Contracting, LLC, recklessly and negligently failed to stop at a stop sign

at U.S. Department of Transportation Crossing No. 005284Y near Mendon, Missouri resulting in

a collision with the train. The collision with the dump truck caused Train 4 to derail.

         Plaintiff BNSF has filed a Complaint to Compel Arbitration under the Federal Arbitration

Act, 9 U.S.C. § 4, arising out of Defendants’ refusal to comply with the terms of a pre-dispute

arbitration agreement binding upon the parties in connection with Defendants’ claims against

Plaintiff. (Doc. 1) The terms and conditions for travel on Train 4 acknowledged by and on behalf

of the Defendants included a binding Arbitration Agreement. (See Doc. 1, ¶ 22, Exs. 4 and 5).
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The Arbitration Agreement applies to all claims asserted by train ticket purchasers or any

individuals for whom train tickets are purchased including family members, minor passengers,

colleagues and companions. (Id.) The Arbitration Agreement applies, without limitation, to

claims for negligence, gross negligence, physical impairment, disfigurement, pain and suffering,

mental anguish, wrongful death, survival actions, loss of consortium and/or services, medical and

hospital expenses, expenses of transportation for medical treatment, expenses of drugs and medical

appliances, emotional distress, exemplary or punitive damages arising out of or related to any

personal injury. (Id) The Arbitration Agreement permits “any party to which Amtrak owes

indemnity…including without limitation any host railroad” to enforce its terms. (Id.) BNSF is a

host railroad to which Amtrak owes indemnity, and, therefore, BNSF is expressly entitled to

enforce the Arbitration Agreement

         In contravention of the terms and conditions acknowledged and agreed to by and on behalf

of Defendants, Defendants filed state court actions against BNSF. (See Doc. 1, Ex. 1, First

Amended Petition in the Circuit Court of Chariton County, Missouri case of Shaun Phan, et al. v.

BNSF Railway Company, et al., Case No.: 22CH-CC00022; Doc. 1, Ex. 2, First Amended Petition

in the Circuit Court of Chariton County, Missouri case of Nick Cook, et al. v. BNSF Railway

Company, et al., Case No. 22CH-CC00021; Doc. 1, Ex. 3, First Amended Petition in the Circuit

Court of Chariton County, Missouri case of Daniel Holsapple, et al. v. BNSF Railway Company,

et al., Case No.: 22CH-CC00024. (The “State Court Actions”)

         Defendants’ pursuit of litigation in state court irreparably harms BNSF by denying BNSF

its contractual right to arbitrate the instant disputes.    Therefore, in addition to compelling

arbitration of all of Defendants’ claims arising out of or relating to the State Court Actions, BNSF

also requests that this Court issue an Order enjoining Defendants from maintaining or pursuing

any claims in contravention of the Arbitration Agreement, including, but not limited to, their State
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Court Actions. Injunctive relief is necessary to effectuate any Court Order compelling arbitration,

to aid and preserve this Court's jurisdiction, and to further the strong federal policies in favor of

arbitration.

         BNSF therefore respectfully requests that this Court, in addition to compelling arbitration

of Defendants’ claims, enter an order as follows:

    (1) Enjoining Defendants from further pursuing proceedings in the above-named cases,

         pending in the Circuit Court of Chariton County, Missouri;

    (2) Enjoining Defendants from pursuing claims based on the June 27, 2022, incident in any

         venue other than arbitration;

    (3) Enjoining the Circuit Court of Chariton County, Missouri from further proceedings in the

         above-named cases;

    (4) Directing such other injunctive relief as is needed to protect Plaintiff from the continuing

         wrongful conduct of Defendants.

                                              Respectfully submitted,

                                              /s/ Sean P. Hamer
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